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July 19, 2023


Via ECF and E-mail

Hon. Katherine Polk Failla
United States District Court
Southern District of New York
40 Foley Square, Room 2103
New York, NY 10007

Re:    In re Tether and Bitfinex Crypto Asset Litigation, 19-CV-09236 (KPF) –
       Letter Motion to File Memorandum of Law and Supporting Declaration in
       Redacted Form and Exhibits to the Latter Under Seal

Dear Judge Failla,

        We represent Plaintiffs in the above-referenced action. Pursuant to Rule 9 of this
Court’s Individual Rules of Practice in Civil Cases, we write to request permission to file
Plaintiffs’ Memorandum of Law in Support of Plaintiffs’ Motion for Issuance of a Letter
of Request (the “Memorandum of Law”) and the Declaration of Laura M. King in Support
of Plaintiffs’ Motion (the “King Declaration”) in redacted form and Exhibits 1 and 2 to the
King Declaration under seal.

        Much of the information contained in the Memorandum of Law concerns the
Anonymous Trader and is therefore to be treated as “strictly AEO in the first instance.”
ECF No. 195 at 2. To prevent disclosure of any information usable to identify the
Anonymous Trader, Plaintiffs intend to redact all references to the Trader’s name and
location, including his country of residence.

       The King Declaration and the exhibits thereto also contain information concerning
the Anonymous Trader. Exhibits 1 and 2 to the King Declaration contain the Anonymous
Trader’s name and address. Accordingly, Plaintiffs respectfully request leave to file the
Memorandum of Law and King Declaration in redacted form and Exhibits 1 and 2 to the
King Declaration under seal to comply with the Court’s prior orders. See ECF Nos. 195,
215.
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July 19, 2023




Respectfully submitted,

/s/ Oscar Shine                           /s/ Todd M. Schneider
Philippe Z. Selendy                       Todd M. Schneider (pro hac vice)
Andrew R. Dunlap                          Matthew S. Weiler (pro hac vice)
Oscar Shine                               Mahzad K. Hite (pro hac vice)
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cc: All Counsel of Record (via ECF)




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